         Case 2:22-cr-00164-JAD-BNW             Document 99         Filed 02/28/25      Page 1 of 2



 1   MACE J. YAMPOLSKY, ESQ.
     Nevada Bar No. 001945
 2   Hend erson, Nevada 89101
     (702)807-5777
 3    Attorney for Defendant
 4                                   UNITED STATES DISTRICT COURT
 5                                          DISTRICT OF NEVADA
 6   UNITED STATES OF AMERICA            )                   Case No.      2:22-CR-164-JAD-BNW
                                         )
 7               Plaintiff,              )
                                         )
 8   vs.                                 )                   STIPULATION TO MODIFY
                                         )                   CONDITIONS OF PRETRIAL RELEASE
 9   ANTOINE GARDNER,                    )                   AND SUPERVISION
                                         )
10               Defendant.              )
     ____________________________________)
11
12          IT IS HEREBY STIPULATED AND AGREED by and between Sue Fahami, ,acting United States
13   Attorney; by and through Robert Knief, Assistant United States Attorney, counsel for the United States of
14   America and Mace J. Yampolsky, Esq., counsel for Defendant Antoine Gardner that:
15          1.      Defendant Antoine Gardner’s conditions of pre-trial release and supervision shall be
16                  modified so that he may be permitted to go on a cruise from May 1-6 to the Mexican
17                  Riviera, leaving from Long Beach CA and returning to Long Beach CA..
18          2.      Defendant’s Pretrial Services Officers, Samira Barlow and Brad Wilson have no
19                  opposition to these modifications so long as Defendant checks in with his Pretrial Services
20                  Officer in the State of California prior to his departure, and upon his return.
21          3.     Defendant will continue to be subject to any and all prohibition(s) of her pre-trial release.
22         DATED this 26th day of February, 2025.
                                      SUE FAHIMI, Acting United States Attorney
23
                                            /s/ Robert Knief
24                                        ROBERT KNIEF
                                          Assistant United States Attorney
25
                                             /s/ Mace J. Yampolsky, Esq.
26                                        MACE J. YAMPOLSKY, ESQ.
                                          Counsel for Defendant
27
28

                                                         1
     Case 2:22-cr-00164-JAD-BNW          Document 99        Filed 02/28/25     Page 2 of 2



 1                                            ORDER
 2    IT IS THEREFORE ORDERED that:
 3    1.    Defendant Antoine Gardner’s conditions of pre-trial release and supervision shall be
 4          modified so that he may be permitted to go on a cruise from May 1-6 to the Mexican
 5          Riviera, leaving from Long Beach CA and returning to Long Beach CA...
 6    2.    Defendant shall check in with his Pretrial Services Officer in the State of California prior
 7          to his departure, and upon his return.
 8    3.    Defendant Antoine Gardner will continue to be subject to any and all conditions(s) of his
 9          pre-trial release.
10
                                           ____________________________________
11                                         U.S. MAGISTRATE JUDGE
12                                         dATE: February 28, 2025
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                 2
